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 11
 12                     UNITED STATES DISTRICT COURT
 13              FOR THE CENTRAL DISTRICT OF CALIFORNIA
 14                            SOUTHERN DIVISION
 15
    ISLAMIC SHURA COUNCIL OF         )      Case No. SACV 07-1088 CJC (ANx)
 16 SOUTHERN CALIFORNIA; et al.,     )
                                     )
 17                  Plaintiffs,     )      NOTICE REGARDING DATE OF
                                     )      MANDATE AND REHEARING EN
 18             vs.                  )      BANC DEADLINE
                                     )
 19   FEDERAL BUREAU OF              )
      INVESTIGATION; and UNITED      )
 20   STATES DEPARTMENT OF           )
      JUSTICE,                       )
 21                                  )
                     Defendants.     )
 22   ______________________________ )
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   1                   NOTICE REGARDING DATE OF MANDATE
   2                       AND REHEARING EN BANC DEADLINE
   3         Plaintiffs submit this notice to apprise the Court of the timing of the issuance
   4   of the mandate in this case, and the related deadline for filing any petition for
   5   rehearing en banc of the Ninth Circuit’s decision in this case. Plaintiffs provide
   6   the notice out of an abundance of caution, and in case there are any implications
   7   for the forthcoming hearing on April 27, 2011.
   8         The Ninth Circuit’s opinion in this case was published on March 30, 2011.
   9   Under Federal Rule of Appellate Procedure 40, “in a civil case, if the United States
  10   or its officer or agency is a party, the time within which any party may seek
  11   rehearing is 45 days after entry of judgment, unless an order shortens or extends
  12   the time.” Plaintiffs are not aware of any order that has shortened or extended the
  13   time thus far. Thus, the deadline to seek rehearing en banc in this case is May 16,
  14   2011, and the mandate will issue only after any petition for rehearing en banc has
  15   been adjudicated.
  16         Plaintiffs have not yet determined whether they intend to seek rehearing en
  17   banc, as that determination involves several competing considerations, and in any
  18   event Plaintiffs do not anticipate that this Court’s decision to unseal certain
  19   portions of its order will have any bearing on the Ninth Circuit’s consideration of
  20   any petition for rehearing en banc. Nonetheless, out of an abundance of caution,
  21   Plaintiffs submit this Notice to advise the Court that the Ninth Circuit’s mandate
  22   ///
  23   ///
  24   ///
  25   ///
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   1   has not yet issued, and that Plaintiffs may file a petition for rehearing en banc that
   2   could in theory result in a modification of the Ninth Circuit’s remand order.
   3
   4   Respectfully submitted,
   5   Dated: April 22, 2011            ACLU Foundation of Southern California
   6
                                        By:    /s/Ahilan Arulanantham
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                                              AHILAN ARULANANTHAM, SBN 237841
   8                                          Counsel for Plaintiffs
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